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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                                    Check if this is an
                                                                        Chapter 13
                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                      02/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Ralph                                                       Shanda
     government-issued picture
                                       First Name                                                  First Name
     identification (for example,
     your driver's license or          A                                                           B
     passport).                        Middle Name                                                 Middle Name

                                       Wright                                                      Wright
     Bring your picture                Last Name                                                   Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                                  Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                                  First Name
     years
                                       Middle Name                                                 Middle Name
     Include your married or
     maiden names.
                                       Last Name                                                   Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   3        7       6      4      xxx – xx –                   7         0        1      6
     number or federal                 OR                                                          OR
     Individual Taxpayer
     Identification number             9xx – xx –                                                  9xx – xx –
     (ITIN)




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Debtor 1     Ralph A Wright
Debtor 2     Shanda B Wright                                                             Case number (if known)

                                 About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                 I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in      Business name                                               Business name
     the last 8 years
                                 Business name                                               Business name
     Include trade names and
     doing business as names
                                 Business name                                               Business name

                                             –                                                           –
                                 EIN                                                         EIN

                                             –                                                           –
                                 EIN                                                         EIN
5.   Where you live                                                                          If Debtor 2 lives at a different address:

                                 1409 Tarragon Dr
                                 Number      Street                                          Number      Street




                                 Flower Mound                   TX       75028
                                 City                           State    ZIP Code            City                           State    ZIP Code

                                 Denton
                                 County                                                      County

                                 If your mailing address is different from                   If Debtor 2's mailing address is different
                                 the one above, fill it in here. Note that the               from yours, fill it in here. Note that the court
                                 court will send any notices to you at this                  will send any notices to you at this mailing
                                 mailing address.                                            address.



                                 Number      Street                                          Number      Street


                                 P.O. Box                                                    P.O. Box


                                 City                           State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing        Check one:                                                  Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                   Over the last 180 days before filing this
                                        petition, I have lived in this district longer              petition, I have lived in this district longer
                                        than in any other district.                                 than in any other district.

                                        I have another reason. Explain.                             I have another reason. Explain.
                                        (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)
                                        Business property in the division




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Debtor 1     Ralph A Wright
Debtor 2     Shanda B Wright                                                       Case number (if known)


 Part 2:      Tell the Court About Your Bankruptcy Case

7.   The chapter of the         Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you        for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                           Chapter 7

                                     Chapter 11

                                     Chapter 12

                                     Chapter 13

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                  and file it as part of this bankruptcy petition.




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Debtor 1     Ralph A Wright
Debtor 2     Shanda B Wright                                                              Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                     State         ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number      Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Ralph A Wright
Debtor 2     Shanda B Wright                                                             Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Ralph A Wright
Debtor 2     Shanda B Wright                                                           Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Ralph A Wright
Debtor 2     Shanda B Wright                                                        Case number (if known)


 Part 7:      Sign Below
For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true
                               and correct.

                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                               or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                               proceed under Chapter 7.

                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                               fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                               I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                               I understand making a false statement, concealing property, or obtaining money or property by fraud in
                               connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                               or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                               X /s/ Ralph A Wright                                        X /s/ Shanda B Wright
                                  Ralph A Wright, Debtor 1                                    Shanda B Wright, Debtor 2

                                  Executed on 06/14/2022                                      Executed on 06/14/2022
                                              MM / DD / YYYY                                              MM / DD / YYYY




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Debtor 1     Ralph A Wright
Debtor 2     Shanda B Wright                                                        Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ David L. Pritchard                                              Date 06/14/2022
                                   Signature of Attorney for Debtor                                        MM / DD / YYYY


                                   David L. Pritchard
                                   Printed name
                                   The Pritchard Law Firm, PLLC
                                   Firm Name
                                   1244 Southridge Court Ste 102
                                   Number          Street




                                   Hurst                                                      TX              76053
                                   City                                                       State           ZIP Code


                                   Contact phone (817) 285-8017                     Email address david@dlplegal.com


                                   16349990
                                   Bar number                                                 State




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Ralph A Wright                                                          CASE NO
           Shanda B Wright
                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/14/2022                                          Signature   /s/ Ralph A Wright
                                                                    Ralph A Wright




Date 6/14/2022                                          Signature   /s/ Shanda B Wright
                                                                    Shanda B Wright
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                         Aashi Bodiwala
                         913 Giverny Lane
                         Southlake, TX 76092



                         Amanda Clower
                         2617 Evinrude Dr
                         Grapevine, TX 76051



                         Anastasia Shafer
                         1519 Shadowbrook Dr
                         Keller, TX 76248



                         Anne Bean
                         808 Hillcrest Trl
                         Southlake, TX 76092



                         Arkon Group
                         500 W Madison Street, Suite 100
                         Chicago, Il 60661



                         Bank Of America
                         P.O. Box 30770
                         Tampa, FL 33630-3770



                         Capital One
                         PO Box 60
                         St Cloud, MN 56302



                         Carroll Independent School District
                         Communications & Engagement
                         2400 N Carroll Ave
                         Southlake, TX 76092


                         Catt Gill
                         808 Hillcrest Trl
                         Southlake, TX 76092
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                         CH Retail Fund II
                         3819 Maple Ave
                         Dallas, TX 75219



                         Chase
                         700 Kansas Lane
                         Monroe, LA 71203



                         Chioma Elendu
                         2123 Beaver Creek Ln
                         Southlake, TX 76092



                         Citibank
                         PO Box 6004
                         Sioux Falls, SD 57117



                         Corporate Services Consultants
                         1015 N Gay St
                         PO Box 1048
                         Dandridge, TN 37725


                         Doeun Lee
                         1501 Plantation Drive
                         Southlake, TX 76092



                         DuWest Realty
                         4403 N Central Expwy, Suite 300
                         Dallas, TX 75205



                         Elizabeth Langston
                         914 Westminster Way
                         Southlake, TX 76092



                         Gabriel Estrada
                         1005 Summer Oaks Dr
                         Denton, TX 76209
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                         Googleplex
                         1600 Ampitheatre Pkwy
                         Mountainview, CA 94043



                         Grant Duong
                         7224 Bursey Road
                         North Richland Hills, TX 76182



                         Grayson Miller
                         2514 Trophy Club
                         Roanoke, TX 76262



                         Holly McCann
                         545 Oak Hill Dr
                         Soutlake, TX 76092



                         Huntington Learning Center, Inc.
                         496 Kinderkamack Rd
                         Ordell, NJ 07649



                         Isabella Carlos-Bedoya
                         2736 Trophy Club Drive
                         Roanoke, TX 76262



                         Jonah Clower
                         2617 Evinrude Dr
                         Grapevine, TX 76051



                         Julian Baum
                         1501 Plantation Drive
                         Southlake, TX 76092



                         Kaleb Wallace-Bolela
                         4634 Manila Dr
                         Jackson, MS 39206
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                         Kameron Abram
                         2605 Navero Trail
                         Euless, TX 76039



                         Kelly Watson
                         1417 Whispering Dell Ct
                         Southlake, TX 76092



                         Kiran Bodiwala
                         913 Giverny Lane
                         Southlake, TX 76092



                         LaNora Thomas
                         302 W Corporate Dr
                         Lewisville, TX 75067



                         Lindy Langston
                         914 Westminster Way
                         Southlake, TX 76092



                         Linhang Yan
                         4113 Countryside Dr
                         Grapevine, TX 76051



                         Lisa Abram
                         2605 Navero Trail
                         Euless, TX 76039



                         Lourdimareddy Gumireddy
                         810 Huntington Ct
                         Southlake, TX 76092



                         Lucia Gumiready
                         810 Huntington Ct
                         Southlake, TX 76051
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                         Marci Miller
                         2514 Trophy Club
                         Roanoke, TX 76262



                         Martin McCann
                         545 Oak Hill Dr
                         Soutlake, TX 76092



                         Mary Reagor
                         4168 Brentwood Cir
                         Grapevine, TX 76051



                         Michael Elendu
                         2123 Beaver Creek Ln
                         Southlake, TX 76092



                         N2 Publishing
                         5051 New Centre Dr
                         Wilmington, NC 28403



                         Nia Baum
                         1501 Plantation Dr
                         Southlake, TX 76092



                         Owen Clower
                         2617 Evinrude Dr
                         Grapevine, TX 76051



                         PressOne
                         38031 Crescent Street, 2d Floor
                         New York, NY 11101



                         Ren Ying
                         4113 Countryside Dr
                         Grapevine, TX 76051
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                         Ross Pailes
                         8509 Clay Hibbins Rd
                         Keller, TX 76248



                         Samantha Pailes
                         8509 Clay Hibbins Rd
                         Keller, TX 76248



                         Saskya Zuniga
                         2736 Trophy Club Drive
                         Roanoke, TX 76262



                         Simona Shafer
                         1519 Shadowbrook Dr
                         Keller, TX 76248



                         Spectrum
                         PO Box 94188
                         Palatine, Il 60094



                         Sydney Mercier
                         414 Osprey Ct
                         Southlake, TX 76092



                         Texans Credit Union
                         PO Box 853912
                         Richardson, TX 75085



                         The Wright Legacy Group, Inc
                         DBA Huntington Learning Center
                         1409 Tarragon Dr
                         Flower Mound, TX 75028


                         Trang Doung
                         7224 Bursey Road
                         North Richland Hills, TX 76182
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                         Tri County Electric Cooperative, Inc
                         200 Bailey Ranch Rd
                         Aledo, TX 76008



                         US Small Business Administration
                         PO Box 3918
                         Portland, OR 97208



                         Valencia Wallace
                         4634 Manila Dr
                         Jackson, MS 39206



                         Zip Whip
                         300 Elliott Ave W, Suite 500
                         Seattle, WA 98119
